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                      UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA


DEBORAH A. GAUDET, ET AL.                             CIVIL ACTION

VERSUS                                               NO. 19-10356-WBV-JVM

HOWARD L. NATIONS, APC, ET AL.                        SECTION: D (1)

                                       ORDER
      Considering the Motion to Lift Stay (R. Doc. 425);

      IT IS HEREBY ORDERED that the Motion is GRANTED. The stay and

administrative closure imposed by the Court’s July 19, 2021 Order (R. Doc. 417) are

hereby lifted, and the Clerk’s Office is directed to reopen this case.

       New Orleans, Louisiana, October 28, 2021.




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                                        WENDY B. VITTER
                                        United States District Judge
